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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION
United States of America                        §
                                                §      CRIMINAL NO:
vs.                                             §      AU:19-CR-00053(1)-RP
                                                §
(1) Denis Calabrese                             §

                         ORDER SETTING SENTENCING
         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
SENTENCING in Courtroom 4, on the Fifth Floor, United States Courthouse, 501 West Fifth
Street, Austin, TX, on Thursday, May 30, 2019 at 09:30 AM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT IS SO ORDERED this 19th day of March, 2019.




                                                ______________________________
                                                ROBERT PITMAN
                                                UNITED STATES DISTRICT JUDGE
